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                                                                                                   E-FILED
                                                                                           IN COUNTY CLERK'S OFFICE
                                                                                         PIERCE COUNTY, WASHINGTON

                                                                                               April 14 2020 9:42 AM
 1
                                                                                                   KEVIN STOCK
                                                                                                  COUNTY CLERK
 2                                                                                             NO: 20-2-05888-8

 3

 4

 5

 6                     SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                                 FOR PIERCE COUNTY

 8

 9    REBECCA J. LEEPER, an individual,
10
                                        Plaintiff,
11

12             vs.
                                                      NO.
13
      CITY OF TACOMA, a municipal
14    corporation; TEL C. THOMPSON, and               COMPLAINT FOR DAMAGES
      JOHN DOES 1-5, in their individual
15    capacities,
16
                                      Defendants.
17

18
               COMES NOW Plaintiff Rebecca J. Leeper, by and through her attorneys of record,
19
     Joshua R. Brumley of Brumley Law Firm, PLLC, and Loren A. Cochran and Nicholas B. “Cole”
20
     Douglas of Cochran Douglas Law, and hereby alleges as follows:
21
                                              I.     PARTIES
22
               1.1   Plaintiff Rebecca J. Leeper was a resident of Pierce County, Washington at all
23
     times relevant to this action.
24
               1.2   Defendant City of Tacoma is a Washington municipal entity with police powers
25
     existing pursuant to the Washington State Constitution and the Constitution of the United
26
     States. Defendant City of Tacoma is responsible for formulating and implementing the Tacoma


                                                                           Brumley Law Firm, PLLC
      COMPLAINT FOR DAMAGES                                            1303 Central Avenue South, Suite 201
                                                                             Kent, Washington 98032
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 1
     Police Department’s (“TPD”) policies and procedures and ensuring its officers are properly and
 2
     adequately trained.
 3
               1.3   It is believed and therefore alleged that Defendant Tel C. Thompson is a resident
 4
     of Pierce County, Washington State who worked for the City of Tacoma at all times material
 5
     hereto and held the position of Police Officer for TPD.
 6
               1.4   It is believed and therefore alleged that John Does 1-5 worked for or were
 7
     otherwise intricately involved in the TPD at all times material hereto and/or held positions at
 8
     TPD and were involved in the specific facts which led to the injuries suffered by Plaintiff.
 9
                                 II.     JURISDICTION AND VENUE
10
               2.1   Venue is proper in Pierce County under RCW 4.12.020.
11
               2.2   Jurisdiction is proper under RCW 4.96.010 and 4.96.020. A City of Tacoma
12
     claim for damages form was presented to the City of Tacoma, City Clerk’s Office as directed
13
     on the tort claim form. More than sixty (60) calendar days have elapsed since the filing of the
14
     tort claim form such that filing of this action in allowed pursuant to Pursuant to RCW 4.96.020.
15
                                         III.   JURY DEMAND
16
               3.1   Plaintiff hereby demands a jury trial on the causes of action set forth herein.
17
                                   IV.     STATEMENT OF FACTS
18
               4.1   In 2017, Defendant Tel C. Thompson was employed by the Tacoma Police
19
     Department as an active duty police officer.
20
               4.2   During that same time period, Defendant Thompson was assigned by TPD to
21
     provide increased security as an off-duty officer at various Fred Meyer store locations across
22
     the City of Tacoma. In this role, Defendant Thompson wore his complete TPD uniform, and
23
     represented himself as a TPD officer.
24
               4.3   Plaintiff Rebecca J. Leeper was an employee of Fred Meyer in 2017, working
25
     as a Loss Prevention Manager, at the 4505 South 19th Street store location. During the relevant
26
     time periods, Defendant Thompson was assigned by TPD to provide security at that same store.


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 1
               4.4   Starting in November 2017, Plaintiff Leeper became aware of Defendant
 2
     Thompson exhibiting aggressive, confrontational behavior that was usually colored with overt
 3
     sexualized comments.       For example, Defendant Thompson made inappropriate sexual
 4
     comments to a male Fred Meyer employee’s girlfriend. On another occasion, Defendant
 5
     Thompson made baseless accusations that Fred Meyer employees had been watching
 6
     pornography during a web-based training session.
 7
               4.5   In response, Plaintiff Leeper reported Defendant Thompson’s regular
 8
     inappropriate behaviors to her supervisor and asked that he be removed as an off-duty police
 9
     officer assigned to the store. Plaintiff Leeper’s supervisor then reported the concerning
10
     behavior to TPD.
11
               4.6   At this point in time, TPD already had notice that Defendant Thompson had a
12
     history of being overly confrontational and exhibiting inappropriate sexualized conduct based
13
     on prior allegations and reports. For example, near or around 2016, chaperons from Eatonville
14
     High School reported to TPD that Defendant Thompson made inappropriate comments about
15
     students having sex and female students wearing suggestive clothing, while providing security
16
     as an off-duty police officer at the high school.
17
               4.7   Despite possessing this information and being aware of the danger that
18
     Defendant Thompson posed, TPD merely removed Defendant Thompson from providing off-
19
     duty security work at high schools, and instead assigned him to provide security for the Fred
20
     Meyer stores.
21
               4.8   In a similar unresponsive fashion, after learning of the new allegations from
22
     Plaintiff Leeper’s supervisor, TPD merely reassigned Defendant Thompson to another Fred
23
     Meyer store location. At no point did TPD ever remove Defendant Thompson from off-duty
24
     assignment or active duty rotation.
25
               4.9   Near or around July 15, 2018, Plaintiff Leeper was again working at the Fred
26
     Meyer store on South 19th Street conducting an internal audit. As she entered the Loss


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 1
     Prevention office, Defendant Thompson jumped out from behind a door where he was hiding
 2
     in an effort to frighten and embarrass Plaintiff Leeper. Defendant Thompson was wearing his
 3
     full police uniform at the time. He had his badge, handcuffs, flashlight, and TPD sanctioned
 4
     firearm on his person.
 5
               4.10   Defendant Thompson grabbed Plaintiff Leeper from behind, hugging her and
 6
     stating that he missed seeing her. Defendant Thompson then proceeded to grab and slap
 7
     Plaintiff Leeper’s breasts, all while exclaiming, “look at these tits; they’re huge” to everyone in
 8
     the room.
 9
               4.11   Defendant Thompson then grabbed Plaintiff Leeper’s bra straps and
10
     aggressively shook them up and down repeatedly, in an attempt to make her breasts bounce and
11
     jiggle.
12
               4.12   After physically and sexually assaulting Plaintiff Leeper, Defendant Thompson
13
     displayed a picture of his penis on his phone, and then thrust his pelvis back and forth soliciting
14
     an invitation to tap his genitals.
15
               4.13   The following day, Plaintiff Leeper reported the sexual assault and harassment
16
     to her supervisor, who again forwarded the information to TPD. Defendant Thompson was
17
     ultimately removed from the Fred Meyer off-duty account, and upon information and belief,
18
     has since been terminated from his position as a police officer with TPD.
19
               4.14   As a direct and proximate result of the sexual assault and harassment that
20
     Plaintiff Leeper experienced, she has suffered significant damages, including but not limited to
21
     symptoms of depression and anxiety, feelings of shame, fear, anger, sadness, and
22
     embarrassment, as well as physical health problems, hypervigilance and irritability.
23
                                      V.      CAUSES OF ACTION
24
     A.        FIRST CLAIM FOR RELIEF - 42 U.S.C. §1983
25   Defendant Thompson
26             1)     Fourteenth Amendment:
               5.1    Plaintiff re-alleges the paragraphs set forth above.

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 1
               5.2   At all times material, Defendant Thompson, acting under color of state law and
 2
     in his individual capacity, had a duty to refrain from depriving Plaintiff Leeper of her
 3
     Constitutional rights.
 4
               5.3   The Fourteenth Amendment encompasses the expectation of bodily integrity and
 5
     privacy, and it applies to local governmental actors like Defendant Thompson.
 6
               5.4   Defendant Thompson breached the Fourteenth Amendment by intentionally,
 7
     recklessly and/or deliberately indifferent by engaging Plaintiff Leeper in acts of sexual assault
 8
     and harassment.
 9
               5.5   As a result of these constitutional violations, Plaintiff Leeper suffered physical,
10
     mental and emotional injuries
11
     B.        SECOND CLAIM FOR RELIEF – 42 U.S.C. §1983
12   Defendant City of Tacoma and Does 1-5
13             5.6   Plaintiff re-alleges the paragraphs set forth above.

14             5.7   At all times material, Defendant City of Tacoma and its local governmental

15   policy makers, acting under color of state law, had a duty to refrain from depriving Plaintiff

16   Leeper of her Constitutional rights.

17             5.8   Acting under color of law, Defendant City of Tacoma and its policy makers

18   acted with deliberate indifference for Plaintiff Leepers’s Constitutional rights by failing to

19   promulgate, issue and enforce appropriate procedures and regulations concerning its off-duty

20   police officer security program; in addition, Defendant City of Tacoma had actual knowledge

21   of past complaints of against its police officer, Defendant Thompson, and yet the City

22   deliberately continued to assign him out for extra duty assignments.

23             5.9   By failing to promulgate, issue and enforce appropriate procedures and

24   regulations concerning its off-duty police officer security program, Defendants City of Tacoma

25   and Does 1-5 acted with reckless and deliberate indifference to the Constitutional rights of

26   Plaintiff Leeper and the other individuals working and shopping at Fred Meyer.



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 1
               5.10   As a result of these constitutional violations, Plaintiff Leeper suffered physical,
 2
     mental and emotional injuries.
 3
     C.   THIRD CLAIM FOR RELIEF -- NEGLIGENT AND GROSSLY NEGLIGENT
 4   HIRING, TRAINING, AND SUPERVISION OF EMPLOYEES AND AGENTS
     Defendant City of Tacoma and Does 1-5
 5
               5.11   Plaintiff re-alleges the paragraphs set forth above.
 6
               5.12   Defendant City of Tacoma has a duty to use reasonable care in hiring, training
 7
     and supervising its employees and agents, including Defendant Thompson.
 8
               5.13   Defendant City of Tacoma breached this duty in a negligent and grossly
 9
     negligent manner.
10
               5.14   As a proximate result of Defendant’s breach, Plaintiff Leeper was significantly
11
     injured by Defendant Thompson.
12
     D.        FOURTH CLAIM FOR RELIEF – ASSAULT AND BATTERY
13
     Defendant Thompson
14             5.15   Plaintiff re-alleges the paragraphs set forth above.
15             5.16   Defendant Thompson intentionally sexually assaulted Plaintiff Leeper without
16   any provocation, license or justification.
17             5.17   The acts of Defendant Thompson were done with intent to cause harmful or
18   offensive contact or an apprehension by plaintiff of such contact.
19             5.18   Defendant Thompson’s conduct toward Plaintiff Leeper also constitutes battery.
20             5.19   As a direct and proximate result of Defendant Thompson’s conduct, Plaintiff
21   Leeper sustained general and special damages.
22   E.  FIFTH CLAIM FOR                    RELIEF       –   INTENTIONAL             INFLICTION            OF
     EMOTIONAL DISTRESS
23
     Defendant Thompson
24
               5.20   Plaintiff re-alleges the paragraphs set forth above.
25
               5.21   Defendant Thompson engaged in extreme and outrageous conduct by sexually
26
     assaulting Plaintiff Leeper.


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 1
               5.22   As a direct and proximate result of this extreme and outrageous conduct,
 2
     Plaintiff Leeper has suffered severe emotional and psychological distress. Her emotional
 3
     damages include mental anguish, humiliation and emotional and physical distress.
 4
               5.23   Also, as a direct and proximate result of this extreme and outrageous conduct,
 5
     Plaintiff Leeper has suffered and continues to suffer severe emotional and psychological
 6
     distress, including severe mental anguish, humiliation and outrage.
 7
     F.   SIXTH CLAIM FOR RELIEF – NEGLIGENT INFLICTION OF EMOTIONAL
 8   DISTRESS
     Defendant City of Tacoma and Does 1-5
 9
               5.24   Plaintiff re-alleges the paragraphs set forth above.
10
               5.25   Defendants City of Tacoma and Does 1-5 owed Plaintiff a duty to use reasonable
11
     care. Defendants breached this duty through the negligent acts described above.
12
               5.26   Defendants’ breach was the proximate cause of emotional distress which was
13
     manifested through Plaintiff Leeper.
14
     G.        SEVENTH CLAIM FOR RELIEF-- RESPONDEAT SUPERIOR
15
     Defendant City of Tacoma
16             5.27   At all times material herein, Defendant City of Tacoma was responsible for the
17   actions of its agents and employees under the theory of respondeat superior.
18                                VI.     RESERVATION OF RIGHTS
19             6.1    Reservation of Rights. Plaintiff reserves the right to assert additional claims as
20   may be appropriate following further investigation and discovery.
21                                    VII.   PRAYER FOR RELIEF
22             WHEREFORE Plaintiff, having asserted claims for relief, now prays for judgment
23   against Defendants as follows:
24             1. For compensatory damages, future damages and punitive damages in an amount to
25   be proven at trial.
26             2. For costs and attorneys’ fees, including reasonable attorneys’ fees pursuant to 42
     U.S.C. § 1988; and
                                                                                 Brumley Law Firm, PLLC
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 1
               3. For such other and further relief as the Court deems just and proper.
 2
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16
               DATED this 13th day of April 2020.
17
                                             BRUMLEY LAW FIRM, PLLC
18

19

20                                               s/Joshua R. Brumley, WSBA#49851
                                                 1303 Central Avenue South, Suite 201
21                                               Kent, Washington 98032
                                                 253-236-4079
22                                               Joshua@Brumleylawfirm.com
                                                 Attorneys for Plaintiff
23
     //
24
     //
25   //
26   //
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 1                           COCHRAN DOUGLAS LAW
 2
                                     s/Nicholas B. “Cole” Douglas, WSBA#49786
 3                                   Loren A. Cochran, WSBA No. 32773
 4                                   Nicholas B. “Cole” Douglas, WSBA No. 49786
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                                     cole@cochrandouglas.com
 7
                                     Attorney for Plaintiffs
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